    Case 3:25-cv-02847-AMO   Document 37-14   Filed 04/04/25   Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    ASHLEY T. HARRINGTON (RMIAN)
              Plaintiffs,             IN SUPPORT OF PLAINTIFFS’
                                      MOTION FOR A PRELIMINARY
     v.                               INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
     Case 3:25-cv-02847-AMO           Document 37-14        Filed 04/04/25      Page 2 of 4




          SUPPLEMENTAL DECLARATION OF ASHLEY T. HARRINGTON
               CHILDREN’S PROGRAM MANAGING ATTORNEY
            ROCKY MOUNTAIN IMMIGRANT ADVOCACY NETWORK


I, Ashley T. Harrington make the following statements on behalf of myself and the Rocky Mountain
Immigrant Advocacy Network (RMIAN). I certify under penalty of perjury that the following
statement is true and correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-11) as if fully set forth hererein.
   2. My name is Ashley T. Harrington, and I am the Children’s Program Managing Attorney at
      the Rocky Mountain Immigrant Advocacy Network (“RMIAN”). RMIAN is a Colorado-
      based nonprofit organization that provides free immigration legal and social services to
      individuals in civil immigration detention, as well as to immigrant children and families.
      Through its staff attorneys, paralegals, social workers, and a network of hundreds of pro
      bono attorneys, RMIAN provides legal education and free legal representation to low-
      income immigrants who otherwise would not be able to afford an attorney.
   3. With HHS funding, RMIAN employs approximately six full-time-equivalent staff
      members to provide legal services to unaccompanied children, including: legal
      representation, pro bono recruitment, training, referrals and mentoring, coordination of
      language services, program management and administrative support. Each day without this
      funding has forced RMIAN to pull from its limited reserves in order to keep staff on and
      continue services for child clients.
   4. RMIAN has limited development staff who are already tasked with fundraising to support
      the organization as a whole. They cannot realistically raise enough money under this
      expedited time frame to replace the funding from HHS that RMIAN relies upon in order to
      continue its services. This is especially true because RMIAN is one of approximately 90
      legal service providers in the Acacia network who are faced with these drastic, sudden
      funding cuts. Most will be seeking alternate funding from the same sources, forcing them
      to compete against each other for scarce resources.
   5. As a result of this contract termination, RMIAN is currently in an uncertain situation as it
      is reluctant to make any drastic changes in staffing or services while it awaits a final
      decision on what funding and services may be restored.
   6. RMIAN’s unaccompanied child clients have immigration court hearings scheduled as soon
      as April 11 and April 16, 2025 and state court hearings as soon as April 7, 2025. In addition
      to upcoming court hearings, other clients have court-ordered deadlines to submit pleadings



                                                1
 Case 3:25-cv-02847-AMO           Document 37-14         Filed 04/04/25      Page 3 of 4




   and status updates in April and May 2025. Even for RMIAN clients who don’t have
   upcoming court hearings or deadlines, there are many urgent upcoming legal needs. For
   example, RMIAN represents many children whose notices to appear have not yet been filed
   with the immigration court. According to a new ICE memo reported by Reuters, ICE will
   be prioritizing filing those charging documents to initiate removal proceedings against
   unaccompanied children. RMIAN has had notices to appear filed for unaccompanied
   children as recently as March 24, 2025 with a hearing set for early May 2025. It is critical
   for an attorney to be monitoring for these notices, otherwise children run the risk of missing
   court hearings and being ordered removed in absentia.

7. Without restored funding, RMIAN will be unable to offer representation to additional
   unaccompanied children. The Denver Immigration Court will be holding initial juvenile
   dockets on April 4, April 11 and on an ongoing basis. RMIAN will be unable to offer
   representation to these children without continued funding, leaving these children to
   navigate complex proceedings alone.

8. RMIAN relies heavily on its network of pro bono attorneys to represent child clients,
   however pro bono attorneys cannot continue to represent clients with RMIAN’s support.
   RMIAN regularly refers unaccompanied children to pro bono counsel for representation in
   partial or full proceedings. An example of a partial referral would be that the pro bono
   attorney provides representation in the state court proceeding only, while a RMIAN
   attorney handles removal proceedings and representation in front of U.S. Citizenship and
   Immigration Services. In other cases, the volunteer attorney may represent the child to a
   certain stage in their case, such as approval of Special Immigrant Juvenile Status and
   deferred action, and then pass the child’s case back to RMIAN for ongoing representation.
   On rare occasions, a pro bono attorney might provide full representation to a child on all
   matters.

9. In order for a child’s case to be successfully placed with a pro bono attorney several steps
   must occur. RMIAN first needs to make contact with the child, either at immigration court,
   through our hotline or via a referral. Then RMIAN staff must screen the child for
   immigration relief options, which requires developing trust and rapport with the child,
   having child-appropriate and trauma-informed interviewing skills, and having legal
   expertise to identify what immigration legal options a child might be eligible to pursue.
   RMIAN must also then find a competent pro bono attorney to handle the child’s legal
   matter. This requires RMIAN staff to recruit, train and vet volunteer attorneys. The vast
   majority of RMIAN’s volunteer attorneys do not have immigration law experience and
   would never consider taking an immigration case without RMIAN’s referral, training,
   guidance, mentoring and malpractice coverage. RMIAN’s attorneys provide constant
   training, mentoring, support and guidance to pro bono attorneys to assist them in providing



                                             2
     Case 3:25-cv-02847-AMO            Document 37-14         Filed 04/04/25   Page 4 of 4




       competent representation from before the time they accept a child’s case through its
       conclusion. In addition, it is unfortunately not uncommon for a volunteer attorney to agree
       to provide representation, and then fail to do so, requiring RMIAN to take the child’s case
       back to either place with another pro bono attorney or handle in-house. Even experienced
       pro bono attorneys who have handled multiple cases for RMIAN are regularly seeking
       guidance on the constant changes in immigration law and policy impacting their clients’
       cases. RMIAN’s pro bono coordination team provides regular weekly updates to pro bono
       attorneys to help them stay abreast of critical updates and changes, and are available to
       provide regular ongoing mentoring support.

   10. In addition, most of RMIAN’s child clients are monolingual Spanish speakers, or speak
       communicate with their clients, or to obtain translation of necessary case-related
       documents without RMIAN’s coordination and assistance. RMIAN relies on HHS funding
       to coordinate these essential language services which would otherwise not be available to
       pro bono attorneys.

   11. In short—pro bono attorneys would be unable and unwilling to represent children in the
       complex web of state court and immigration proceedings without RMIAN’s expert
       training, mentoring and language coordination throughout the case. As a result, countless
       children would be forced to navigate complex immigration court proceedings without
       counsel.
I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 3rd of April 2025, in Westminster, Colorado.




______________________________
Ashley T. Harrington
Children’s Program Managing Attorney
Rocky Mountain Immigrant Advocacy Network (RMIAN)




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